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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


LATOYA WARE,                                          )
                                                      )
                       Plaintiff,                     )
v.                                                    )       No. 22-cv-02336
                                                      )
KIM FOXX, COOK COUNTY                                 )       Judge Franklin U. Valderrama
STATE’S ATTORNEY, COOK COUNTY, and                    )
unknown county employees,                             )
                                                      )
                       Defendants.                    )

                                ORDER IN LIEU OF ANSWER

       THIS MATTER COMING TO BE HEARD on Defendant Cook County’s Motion for

Entry of Order in Lieu of Answer, it is hereby ordered as follows:

       (1) Plaintiff’s complaint does not seek liability on the part of the County other than

indemnification;

       (2) the County remains in this case solely for purposes of indemnification as alleged in

Count III of Plaintiff’s complaint and reserves all of its defenses with respect to Count III; and

       (3) the County is not obligated to answer or otherwise respond to Plaintiff’s complaint.




Dated: July 7, 2022



                                                      United States District Judge
                                                      Franklin U. Valderrama
